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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                v.                                      Criminal No. 3:20-cr-07

ALEXIS BROLIN, JR.,
  a/k/a Lex

     THIRD SUPPLEMENTAL RECEIPT FOR LOCAL CRIMINAL RULE 16 MATERIAL

     The following supplemental materials have been uploaded and disclosed through USAfx:

            •        Arrest Reports
                         o Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) Report of
                             Investigation, Report No. 37, dated 6/9/2020, Redacted
                         o Drug Enforcement Administration (DEA) Report of Investigation, dated
                             6/10/2020, Redacted

            •        ATF ROIs and Reports
                        o ATF E-Trace Reports – A. Brolin
                        o ATF E-Trace Reports – B. Gidney
                        o ATF Interstate Nexus Report – J. Bisbee Guns
                        o ATF Interstate Nexus Report – A. Brolin Ammunition
                        o ATF Interstate Nexus Report – A. Brolin Guns
                        o ATF Report – Evidence Seized – B. Gidney, Redacted
                        o ATF Report – Gidney Arrest + Search Warrant, Redacted
                        o ATF Report – Search Warrant Brolin Residence

            •        DEA 7s – J. Bisbee Trash Pulls
                       o DEA Reports of Drug Property Collected, Purchased or Seized (7 reports)

            •        DEA 7s and Crime Labs – Brolin, et al.
                       o Evidence Photos of Exhibits 1 – 10
                       o Exhibits 1 – 3 (4 reports)
                       o Exhibits 4 – 6 (4 reports)
                       o Exhibits 44 – 45 (1 report)
                       o Exhibits 46 – 48 (1 report)
                       o Exhibits 49 – 51 (1 report)
                       o Exhibits 53 – 55 (2 reports)
                       o Exhibits 64 – 65 (1 report)
                       o Exhibit 66 (1 report)
                       o Exhibit 67 (1 report)
                       o Exhibit 68 (1 report)
                       o Exhibit 69 (1 report)
                       o Exhibits 70 – 72 (3 reports)

            •        J. Cyphert Lab Report
                         o Pennsylvania State Police (PSP), Bureau of Forensic Services, Lab Report
                            No. E20-00895-1, dated 6/9/2020

            •        Ping Data – TT 9 – J. Bisbee
                         o Spreadsheet containing Ping Report for TT 9
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    •   PSP Reports
           o PSP General Investigation Report, Jail Call Review, dated 6/2020
           o PSP General Investigation Report, Tipster Reports, dated 3/2020 – 4/2020,
              Redacted

    •   Search Warrants – Arrests – Surveillance Photos
            o Arrest Warrant Photos – 6/9/2020 – M. Williams (11 photos)
            o Pole Camera Photos – Brolin Residence (73 photos)
            o Surveillance Photos – 2/12/2020 – K. Bell (12 photos)
            o Search Warrant Photos – 6/9/2020 – Gower Residence (73 photos)
            o Search Warrant Photos – 4/4/2020 – Brolin Residence (266 photos)
            o Search Warrant Photos – 6/9/2020 – Brolin Residence (42 photos)
            o Search warrant Photos – 6/9/2020 – Gidney Residence (201 photos)
                   ▪ DEA 7 Seized Evidence Report
            o Search Warrant Photos – 6/9/2020 – J. Nyman Residence (24 photos)
            o Search Warrant Photos – 3/15/2020 – Rauch + Luzier (16 photos)

    •   Transcripts – Intercepts UC and A. Brolin
           o Text Messages – UC and Brolin, dated 8/7 – 8/28, 2019
           o UC and Brolin, dated 8/6/2019
           o UC and Brolin, dated 8/7/2020
           o UC and Brolin, dated 8/8/2019 (1)
           o UC and Brolin, dated 8/8/2019 (2)
           o UC and Brolin, dated 8/22/2019
           o UC and Brolin, dated 7/26/2019 (1)
           o UC and Brolin, dated 7/26/2019 (2)
           o UC and CI, dated 8/6/2019

    •   Walmart – Subpoenas and Results
           o Walmart Subpoena and Results
           o Walmart Transaction and Photos, dated 4/4/2020

    •   Pen Register and Trap and Trace Devices (PRTDD) regarding telephone number
        (814) 882-1701 – Application, Order and Service Order

    •   Z. Quigley Seizure, dated 2/3/2020, Redacted

    •   A. Brolin (Disclosed to Defendant only)
            o Interview Video Clip, dated 6/9/2020
            o Homicide Investigation Action Report, Redacted

                                           Respectfully submitted,

                                           SCOTT W. BRADY
                                           United States Attorney

                                           /s/ Maureen Sheehan-Balchon
                                           Assistant U.S. Attorney

                                           November 24, 2020
                                           Date

                                           Receipt acknowledged by:


                                           Counsel for Defendant

                                           12/01/2020
                                           Date
